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_ UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA

SEALED
- WV. 7 : INDICTMENT
TERRENCE WILLIAMS, : 21 Cr.

ALAN ANDERSON,

ANTHONY ALLEN,

DESIREE ALLEN,

SHANNON BROWN,

WILLTAM BYNUM,

RONALD GLEN DAVIS,

CHRISTOPHER DOUGLAS~ROBERTS,
a/k/a “Supreme Bey,”

MELVIN ELY,

JAMARTO MOON,

DARIUS MILES,

MILTON PALACIO,

RUBEN PATTERSON,

BDDIE ROBINSON,

GREGORY SMITH,

SEBASTIAN TELFAIR,

CHARLES WATSON JR.,

ANTOINE WRIGHT, and

ANTHONY WROTEN,

 

Defendants. x

COUNT ONE
(Conspiracy to Commit Health Care Fraud and Wire Fraud)

The Grand Jury charges:
OVERVIEW
1. At all times relevant to this Indictment, the National

Basketball Association Players’ Health and Welfare Benefit Plan!

 

1 The Plan was formerly known as the National Basketball Players’
Association - National Basketball Association (“NBPA-NBA”)
Supplemental Benefit Plan.

 
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(the “Plan”}) was a health care plan providing benefits to eligible
active and former National Basketball Association ("NBA") players.
From at least in or about 2017, up to and including at least in or
about 2020, TERRENCE WILLIAMS, ALAN ANDERSON, ANTHONY ALLEN,
DESIREF ALLEN, SHANNON BROWN, WILLIAM BYNUM, RONALD GiEN DAVIS,
CHRISTOPHER DOUGLAS-ROBERTS, a/k/a “Supreme Bey,” MELVIN EY,
JAMARIO MOON, DARIUS MILES, MILTON PALACIO, RUBEN PATTERSON, EDDIE
ROBINSON, GREGORY SMITH, SEBASTIAN TELFAIR, CHARLES WATSON JR.,
ANTOINE WRIGHT, and ANTHONY WROTEN, the defendants, and others
known and unknown, engaged in a widespread scheme to defraud the
Plan by submitting and causing to be submitted false and fraudulent
claims for reimbursement of expenses for medical and dental
services that were not actually rendered. Over the course of the
scheme, the defendants submitted and caused to be submitted to
the Plan false and fraudulent claims totaling approximately $3.9
million from which the defendants received approximately $2.5
million in fraudulent proceeds.

2. TERRENCE WILLIAMS, the defendant, orchestrated the
scheme to defraud the Plan. WILLIAMS recruited other Plan
participants to defraud the Plan by offering to supply them with
false invoices to support their false and fraudulent claims to the
Plan in exchange for the payment of kickbacks to WILLIAMS. WILLIAMS
provided ALAN ANDERSON, ANTHONY ALLEN, DESIREE ALLEN, SHANNON

BROWN, WILLIAM BYNUM, RONALD GLEN DAVIS, CHRISTOPHER DOUGLAS~—
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ROBERTS, a/k/a “Supreme Bey,” MELVIN ELY, JAMARIO MOON, DARIUS
MILES, MILTON PALACIO, RUBEN PATTERSON, EDDIE ROBINSON, GREGORY
SMITH, SEBASTIAN TELFAIR, CHARLES WATSON JR., ANTOINE WRIGHT, and
ANTHONY WROTEN, the defendants, with false provider invoices to
support their false and fraudulent claims that described medical
and dental services that were not in fact provided, which those
defendants then submitted and caused to be submitted to the Plan.
WILLIAMS also assisted DAVIS, WATSON JR., and WRIGHT in procuring
fraudulent letters of medical necessity to justify some of the
purported medical services that were the subject of fraudulent
invoices. In addition, in furtherance of the scheme, WILLIAMS
impersonated an individual who processed Plan claims, In return
for his provision of false supporting documentation for their
fraudulent claims, many of the defendants paid WILLIAMS kickbacks,
totaling at least approximately $230,000.

BACKGROUND ON THER PLAN

 

3. The Plan igs a “health care benefit program,” as defined
by Title 18, United States Code, Section 24(b). The Pian is
intended to provide additional coverage to eligible NBA players’
existing medical coverage. The Plan provides a health
reimbursement account (“HRA”) benefit that allows for the
reimbursement of certain medical expenses incurred by eligible
active and former NBA players, their spouses, and other dependents

that are not covered by a player’s primary insurance carrier. Each

 

 
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eligible Plan participant (“Plan Participant”) has an individual
HRA from which the Plan pays benefits. The Plan was funded through
contributions by NBA member teams; those contributions were
generally allocated equally among the HRAs for all eligible Plan
Participants. In addition to NBA member team contributions, HRAS
are adjusted for investment gains or losses based on 4
proportionate share of the investment returns on the HRA-related
assets held in the Plan’s trust.

4, To be a Plan Participant eligible to receive the HRA
benefit from the Plan, a player must meet certain tenure
requirements, which generally means at least three credited regular
seasons on an NBA team Roster. Plan Participants who incur any
eligible medical expenses, as defined under Section 213(d) of the
Internal Revenue Code, that are not covered by insurance, including
charges by doctors and dentists, may be reimbursed for such
expenses from the Plan Participant's HRA. The Plan’s reimbursements
to Plan Participants for eligible medical expenses are tax-free to
the Plan Participant.

5. The Plan is administered by the Board of Trustees {the
“Board”), which consists of three members appointed by the NBA and
three members appointed by the NBPA, which have offices in New
York, New York and Secaucus, New Jersey, respectively. The Board
appoints an Administrative Manager for the Plan. The

Administrative Manager is an entity that oversees the Plan's

 
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day-to-day management. All claims for benefits must be filed
with the Administrative Manager, and the Administrative Manager
determines whether claims are eligible to be paid under the
Plan.

6. During the time period of the scheme described herein,
the Plan employed two different entities to serve as the
Administrative Manager at different times. One entity served as
the Administrative Manager for the Plan between in or about 2004
and in or about early 2019. The second entity currently serves as
the Administrative Manager for the Plan and has served in that
role since in or about early 2019. As used herein, both entities
are identified as the “Administrative Manager.”

7. Plan Participants can submit reimbursement claims by
mail, fax, or electronically. Claims under the Plan must be
submitted to the Administrative Manager on the forms provided by
the Administrative Manager and must include certain documentation,
including atemized receipts reflecting that the charges were for
eligible medicai expenses and, in the case of a reimbursement,
were paid by the Plan Participant. The Plan's Claim Form
requests information from the Plan Participant, including
details of the claim (e.g., type of service provided, the
date, name of the participant or dependent for whom the
service was provided, and the cost). On the Claim Form, the

Plan Participant also must certify, among other things, that the

 
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information the Plan Participant entered in the Claim Form is
correct. The Claim Form states that “fraud is a felony in most
states punishable by fines and/or imprisonment. Providing
misleading or false information constitutes fraud.”

8. Tf the Administrative Manager determined that a claim
was eligible for payment by the Plan, the Plan Participant could
be reimbursed in various ways, including by (a) a check sent
through the mail or {(b) payment sent by direct deposit.

RELEVANT PERSONS

9, TERRENCE WILLIAMS, ALAN ANDERSON, ANTHONY ALLEN, SHANNON
BROWN, WILLIAM BYNUM, RONALD GLEN DAVIS, CHRISTOPHER DOUGLAS—
ROBERTS, a/k/a “Supreme Bey,” MBLVIN ELY, JAMARIO MOON, DARIUS
MILES, MILTON PALACIO, RUBEN PATTERSON, EDDIE ROBINSON, GREGORY
SMITH, SEBASTIAN TELFAIR, CHARLES WATSON JR., ANTOINE WRIGHT, and
ANTHONY WROTEN, the defendants, are each former NBA players and
Plan Participants.

10. DESIREE ALLEN, the defendant, is the spouse of ANTHONY
ALLEN, the defendant.

11. CHIROPRACTIC OFFICE-1 was a chiropractic and
rehabilitation office in Encino, California, affiliated with a
particular chiropractor (“CHTROPRACTOR-1").

12. DENTAL OFFICE-1 and DENTAL OFFICE-2 were dental offices
in Beverly Hills, California, affiliated with a particular dentist

(“DENTIST-17).

 
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13. WELLNESS OFFICE-1 was a doctor’s office that advertised
its specialties in sexual health, anti-aging, and general well-
being in Washington State, and was affiliated with a particular
doctor (“DOCTOR-1”%).

14, DOCTOR-2 is a particular doctor affiliated with a
healthcare facility that advertised its specialties in
conventional medicine and alternative and natural therapies.

15. ADMINISTRATIVE MANAGER EMPLOYEE-1 was a particular
employee of one of the Administrator Manager entities.

16. @€C-l and cC-2 were associates of TERRENCE WILLIAMS, the
defendant, who assisted WILLIAMS in creating fabricated
CHIROPRACTIC OFFICE-1 invoices.

THE FRAUDULENT SCHEME

17. In or about November 2017, TERRENCE WILLIAMS, the
defendant, submitted and caused to be submitted false and
fraudulent claims to the Plan seeking reimbursement of $19,000 for
services that WILLIAMS purportedly received from CHIROPRACTIC
OFFICE-1, along with fabricated CHIROPRACTIC OFFICE-1 invoices
created by cCC-1 at WILLIAMS’s direction. The Administrative
Manager approved WILLIAMS’ s $19,000 claim in part, and the Plan
paid $7,672.55 to WILLIAMS in connection with his false and
fraudulent claim.

18. After defrauding the Plan for his own ciaims, THRRENCE

WILLIAMS, the defendant, next recruited other former NBA players

 
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to defraud the Plan. WILLIAMS offered to provide fraudulent
invoices for CHIROPRACTIC OFFICE-1, DENTAL OFFICE-1, DENTAL
OFFICE-2, and WELLNESS OFFICE-1 to former NBA players so that they
could submit to the Administrative Manager faise and fraudulent
claims based on those fraudulent invoices and receive
reimbursement for medical and/or dental services that they did not
receive and for which they did not pay. In exchange, numerous
former NBA players made kickback payments to WILLIAMS. ALAN
ANDERSON, ANTHONY ALLEN, DESIRER ALLEN, SHANNON BROWN, WILLIAM
BYNUM, RONALD GLEN DAVIS, CHRISTOPHER DOUGLAS-ROBERTS, a/k/a
“Supreme Bey,” MELVIN ELY, JAMARIG MOON, DARIUS MILES, MILTON
PALACIO, RUBEN PATTERSON, EDDIE ROBINSON, GREGORY SMITH, SEBASTIAN
TELFAIR, CHARLES WATSON JR., ANTOINE WRIGHT, and ANTHONY WROTEN,
the defendants, agreed to participate in the fraudulent scheme
with WILLIAMS. PATTERSON, MOON, WROTEN, BYNUM, MILES, ANDERSON,
BROWN, WATSON JR., DAVIS, and PALACIO paid kickbacks to WILLIAMS.

THE FALSE AND FRAUDULENT CHIROPRACTIC OFFICE-1 CLAIMS

Terrence Williams Provided Fabricated Chiropractic Office-1l
Invoices to Co-Conspirators in Furtherance of Their Scheme to
Defraud the Pian

 

 

19. Between in or about November 2017 and December 20i7, and
again from in or about November 2018 to June 2019, at the direction
of TERRENCE WILLIAMS, the defendant, cc-1 created fake
CHIROPRACTIC OFFICE-1 invoices for TERRENCE WILLIAMS, EDDIE

ROBINSON, RUBEN PATT&RSON, WILLTAM BYNUM, GREGORY SMITH,

 
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CHRISTOPHER DOUGLAS-ROBERTS, a/k/a “Supreme Bey,” ANTHONY ALLEN,
DARIUS MILES, SEBASTIAN TELFAIR, ALAN ANDERSON, and SHANNON BROWN,
the defendants, and emailed them to WILLIAMS. For example, on or
about May 28, 2019, CC-1 emailed WILLIAMS a template for a
Fraudulent invoice designed to appear as if it had been issued by
CHTROPRACTIC OFFICE-1, when it was not. In addition, on many other
occasions, cc-i sent emails to WILLIAMS attaching fake
CHIROPRACTIC OFFICE-1 invoices bearing the names of co-
conspirators for WILLIAMS to review before the fake invoices were
finalized.

20. In or about May 2019, CC-2 created fake CHIROPRACTIC
OFFICE-1i invoices for RONALD GLEN DAVIS, CHARLES WATSON JR., and
ANTOINE WRIGHT, the defendants, and emailed them to WILLIAMS. On
or about May 3, 2019, CC-2 sent an email to CC-2’s self that
attached a template for a fake CHIROPRACTIC OFFICE-1 invoice that
had the date, invoice number, services, and charge of $15,000
filled in; however, the “bill to” box, where the name of the
patient would ordinarily be found, was’ blank.

21. Between on or about December 6, 2017 and June 13, 20193,
TERRENCE WILLIAMS, the defendant, emailed false and fraudulent
CHIROPRACTIC OFFICE~-1 invoices to EDDIE ROBINSON, RUBEN PATTERSON,
WILLIAM BYNUM, GREGORY SMITH, CHRISTOPHER DOUGLAS-ROBERTS, a/k/a

“Supreme Bey,” ANTHONY ALLEN, DESIREE ALLEN, DARIUS MILES,

 

 
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SEBASTIAN ‘TELFAIR, ALAN ANDERSON, SHANNON BROWN, RONALD GLEN
DAVIS, CHARLES WATSON JR., and ANTOINE WRIGHT, the defendants.

rerrence Williams and Alan Anderson Assisted in Procuring
Fraudulent Letters of Medical Necessity for Ronald Glen Davis,
Charles Watson Jr., and Antoine Wright in Furtherance of the
Fraudulent Scheme

 

 

 

22. The CHIROPRACTIC OFFICE-1 invoices fabricated by CC-l
and cC-2 for TERRENCE WILLIAMS, the defendant, generally described
the same services: therapeutic exercise, manual therapy,
whiripool, aquatic therapy or exercise, and electrical.
stimulation. For example, RONALD GLEN DAVIS, CHARLES WATSON JR.,
and ANTOINE WRIGHT, the defendants, each submitted claims for
reimbursement on or about May 8, 2019 (the “May 8, 2019 Claims”);
each of those claims was supported by a set of fake CHIROPRACTIC
OFFICE-1 invoices that described the following same services as
having been received by DAVIS, WATSON JR., and WRIGHT: Manual
therapy, Whirlpool, Massage, Vasopneumatic Device, Therapeutic
Exercise, and Electrical Stimulation.

23. To verify that particular services qualified for
reimbursement under the Plan, the Administrative Manager would
sometimes request that a Plan Participant provide a letter from a
licensed physician indicating that the received services were
medically necessary. With respect to the CHIROPRACTIC OFFICE-1
claims of RONALD GLEN DAVIS, CHARLES WATSON JR., and ANTOINE

WRIGHT, the defendants, the Administrative Manager requested that

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letters of medical necessity be provided to justify the May 8,
2019 Claims for CHIROPRACTIC OFFICE-1 services. On May 31, 2019,
TERRENCK WILLIAMS, the defendant, received emails entitled
“Scanned Copies” from a UPS store in Tukwila, Washington — near
where WILLIAMS resides - which attached responsive letters of
medical necessity purporting to be from CHTROPRACTOR-1 dated May
31, 2019, for DAVIS, WATSON JR., and WRIGHT (the “May 31, 2019
CHIROPRACTOR~1 Letters”). The May 31, 2019 CHIROPRACTOR-1 Letters
were submitted to the Administrative Manager to obtain
reimbursement for the May 8, 2019 Claims. The May 31, 2019
CHIROPRACTOR-1 Letters are unusual in several respects: they are
not on letterhead, contain unusual formatting, have grammatical
errors, and one of the letters misspells a purported patient's
name.

24. On or about June 10, 2019, the Administrative Manager
advised RONALD GLEN DAVIS and CHARLES WATSON JR. that the letters
of medical necessity had to be from a primary care physician on
official letterhead. Shortly thereafter, on or about June 12,
2019, ALAN ANDERSON, the defendant, emailed TERRENCE WILLIAMS, the
defendant, with revised letters dated June 12, 2019, purportedly
from DOCTOR-2, that refer RONALD GLEN DAVIS, CHARLES WATSON JR.,
and ANTOINE WRIGHT, the defendants, to CHIROPRACTIC OFFICE-1 (the
“June 12, 2019 Letters”). On or about June 25, 2019, ANDERSON

emailed WILLIAMS with updated referral letters dated June 25, 2019,

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purportedly from DOCTOR-2, for DAVIS, WATSON JR., and WRIGHT (the
“June 25, 2019 Letters”). The June 25, 2019 Letters were submitted
to the Administrative Manager in connection with DAVIS, WATSON
JR., and WRIGHT’s respective claims for reimbursement for services
from CHIROPRACTIC OFFICE-1 and described injuries that were
different than the injuries described in the May 31, 2019
CHTROPRACTER-1 Letters.

False and Fraudulent Chiropractic Office-1 Claims Were Submitted
in Furtherance of the Fraudulent Scheme

 

 

25. Between on or about December 7, 2017 and May 8, 2019,
EDDIE ROBINSON, RUBEN PATTERSON, WILLIAM BYNUM, GREGORY SMITH,
CHRISTOPHER DOUGLAS-ROBERTS, a/k/a “Supreme Bey,” ANTHONY ALLEN,
DESIREE ALLEN, DARIUS MILES, SEBASTIAN TELFAIR, ALAN ANDERSON,
SHANNON BROWN, RONALD GLEN DAVIS, CHARLES WATSON JR., and ANTOINE
WRIGHT, the defendants, submitted and caused to be submitted false
and fraudulent claims to the Plan seeking reimbursement for
services purportedly performed by CHIROPRACTIC OFFICE-1 that
ROBINSON, PATTERSON, BYNUM, SMITH, DOUGLAS-ROBERTS, ANTHONY ALLEN,
MILES, TELFAIR, ANDERSON, BROWN, DAVIS, WATSON JR., and WRIGHT, in
truth and in fact, did not receive. The claims consisted of: (a)
false and fraudulent reimbursement claim forms in which ROBINSON,
PATTERSON, BYNUM, SMITH, DOUGLAS-ROBERTS, ANTHONY ALLEN, MILES,
TELFAIR, ANDERSON, BROWN, DAVIS, WATSON UJR., and WRIGHT each

falsely certified that he had received chiropractic services on

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specific service dates; and (b) false and fraudulent CHIROPRACTIC
OFFICE-1 invoices.

°6. The Administrative Manager approved the fraudulent
CHIROPRACTIC OFFICE-1 claims of EDDIE ROBINSON, RUBEN PATTERSON,
WILLIAM BYNUM, GREGORY SMITH, and CHRISTOPHER DOUGLAS-ROBERTS,
a/k/a “Supreme Bey,” ANTHONY ALLEN, DARIUS MILES, SEBASTIAN
TELFAIR, ALAN ANDERSON, and SHANNON BROWN, the defendants. The
Plan paid: $65,000 to ROBINSON; $40,000 to PATTERSON; $182,224.09
to BYNUM; $74,000 to SMITH; $117,123.24 to DOUGLAS-ROBERTS;
$265,000 to ANTHONY ALLEN; $260,000 to MILES; $207,000 to TELFAIR;
$121,000 to ANDERSON; and $320,000 to BROWN.

27. The Board later independently reviewed the CHIROPRACTIC
OFFICE-1 claims of ANTHONY ALLEN, SEBASTIAN TELFAIR, ALAN
ANDERSON, and SHANNON BROWN, the defendants. As part of this
review, the Board tried to substantiate that ANTHONY ALLEN,
TELFAIR, ANDERSON, and BROWN had received the medical services
from CHIROPRACTIC OFFICE-1 that formed the basis of their claims,
and concluded that ANTHONY ALLEN, TELFAIR, ANDERSON, and BROWN had
not received such services. The Board concluded that the
CHIROPRACTIC OFFICE-1 claims of ANTHONY ALLEN, TELFAIR, ANDERSON,
and BROWN should not have been approved and retroactively denied
their claims. The Board also advised that ANTHONY ALLEN, TELFAIR,
ANDERSON, and BROWN needed to repay the money that they received

jn connection with these claims. ANTHONY ALLEN repaid $350,075 of

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the $420,075 he owed the Plan for his CHIROPRACTIC OFFICE-1 and
DENTAL OFFICE-2 claims. TELFAIR, ANDERSON, and BROWN did not make
any vepayments to the Plan, nor did they appeal the Board’s
decision.

28. The Administrative Manager denied the CHIROPRACTIC
OFFICE-1 claims of: {a} RONALD GLEN DAVIS, the defendant, for
$215,000; (b) CHARLES WATSON JR., the defendant, for $250,000; and
(c) ANTOINE WRIGHT, the defendant, for $245,000. Upon review and
investigation of these claims, the Board concluded that DAVIS,
WATSON JR., and WRIGHT did not receive the CHIROPRACTIC OFFICE-1
services set forth in their claims.

THE FALSE AND FRAUDULENT DENTAL OFFICE-1 AND DENTAL OFFICE-2
CLAIMS

 

Terrence Williams Provided Fraudulent Dental Office-1 and Dental.
Office-2 Invoices to Co-Conspirators in Furtherance of Their
Scheme to Defraud the Plan

 

 

 

29. Between on or about April 12, 2018 and May 7, 2019,
TERRENCE WILLIAMS, the defendant, emailed false and fraudulent
DENTAL OFFICE-1 invoices for RUBEN PATTERSON, JAMARIO MOON,
ANTHONY WROTEN, GREGORY SMITH, RONALD GLEN DAVIS, and CHARLES
WATSON JR., the defendants, as well as for relatives of PATTERSON,
to PATTERSON, MOON, WROTEN, SMITH, DAVIS, WATSON JR., and a
relative of PATTERSON. DENTIST-1 and/or DENTAL OFFICE-1 staff
emailed these DENTAL OFFICE-1 invoices to WILLIAMS.

30. Between on or about March 20, 2019 and March 21, 2019,

TERRENCE WILLIAMS, the defendant, emailed false and fraudulent

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DENTAL OFFICE-2 invoices for ANTHONY ALLEN and SEBASTIAN TELFATR,
the defendants, as well as a relative of TELFAIR, to ANTHONY ALLEN,
DESIREE ALLEN, and TELFAIR. DENTIST-1 emailed these DENTAL
OFFICE-2 invoices, as well as DENTAL OFFICE-2 invoices for DARIUS
MILES, the defendant, and a relative of MILES, to WILLIAMS.

31. The DENTAL OFFICE-1 and DENTAL OFFICE-2 invoices for
RUBEN PATTERSON, JAMARTO MOON, ANTHONY WROTEN, GREGORY SMITH,
ANTHONY ALLEN, DARIUS MILES, SEBASTIAN TELFAIR, RONALD GLEN DAVIS,
and CHARLES WATSON JR., the defendants, as well as for relatives
of PATTERSON and MILES, purported to show that they each received
dental services at DENTAL OFFICE-1 or DENTAL OFFICE-2 in Beverly
Hills, California on particular dates when, in truth and in fact,
they did not, as they were not in California on certain of those
dates. For example:

a. SMTTH's DENTAL OFFICE-1 invoice purported to show
that on or about December 20, 2018, SMITH received IV sedation and
endodontic therapy (i.e., root canals) and crowns on eight teeth
at DENTAL OFFICE-1 in Beveriy Hills, California for $47,900.
However, SMITH was travelling abroad on that date. According to a
December 17, 2018 email from SMITH to TERRENCE WILLIAMS, the
defendant, SMITH stated: “I’m out the country until the 27t®.” In
addition, according to United States Customs and Border Patrol
records, on or about October 31, 2018, SMITH flew from Los Angeles,

California to Taipei, Taiwan, and on or about December 31, 2018,

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SMITH returned from Taipei, Taiwan to Los Angeles, California.
Moreover, box scores for the 2018 Bank of Taiwan basketball team
show that SMITH played in basketball games in Taipei on December
16, 2018 and December 21, 2018.

b. DAVIS’s DENTAL OFFICE-1 invoice purported to show
that on or about October 2, 2018, DAVIS received crowns on eight
teeth at DENTAL OFFICE-1 in Beverly Hills, California for $27,200.
However, DAVIS was not in California on that date. Flight records
show that DAVIS took a flight from Las Vegas, Nevada to Paris,
France on October 2, 2018. In addition, according to geolocation
data for DAVIS’s cellphone, DAVIS was in Nevada and Utah on October
2, 2018.

32. According to the DENTAL OFFICE-1 and DENTAL OFFICE-2
invoices, RUBEN PATTERSON, JAMARIO MOON, ANTHONY WROTEN, GREGORY
SMITH, ANTHONY ALLEN, DARIUS MILES, SEBASTIAN TELFAIR, RONALD GLEN
DAVIS, and CHARLES WATSON JR., the defendants, as well as relatives
of PATTERSON, MILES, and TELFAIR, each received endodontic therapy
on multiple teeth on a single date. For example:

a. MOON received endodontic therapy on five teeth on
March 23, 2018, three teeth on March 7, 2019, and two teeth on
March 15, 2019.

b. SMITH received endodontic therapy on four teeth on

August 5, 2018, and eight teeth on December 20, 2018.

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Cc. TELFAIR received endodontic therapy on five teeth
on March 6, 2018, eight teeth on March 1, 2019, and four teeth on
March 5, 2019.

d. WATSON JR. received endodontic therapy on twelve
teeth on February 10, 2019.

33, The DENTAL OFFICE-1 invoices for RONALD GLEN DAVIS and
ANTHONY WROTEN, the defendants, and the DENTAL OFFICE-2 invoice
for ANTHONY ALLEN, the defendant, reflect many of the same
purported procedures on the same teeth on the same dates. For
example, DAVIS, WROTEN and ANTHONY ALLEN each purportedly had: (a)
endodontic therapy on the same six teeth on April 30, 2016; and
(bo) crowns on the same six teeth on May 11, 2016. Also, WROTEN and
ALLEN each purportedly had endodontic therapy on the same thirteen
teeth on September 6, 2018; DAVIS aiso purportedly had endodontic
therapy on nine of the same teeth on the same day. WROTEN and ALLEN
also each purportedly had crowns on the same twelve teeth on
October 2, 2018; DAVIS also had crowns on eight of the same teeth
on the same day.

34. The DENTAL OFFICE-1 invoices for a relative of RUBEN
PATTERSON, the defendant, and SEBASTIAN TELFAIR, the defendant,
reflect many of the same purported procedures on the same teeth on
the same dates. For example, a relative of PATTERSON and THLFAIR

each purportedly had: (a) endodontic therapy on the same five

1?

 

 
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teeth on March 6, 2018; and (b) crowns on the same three teeth on
April 12, 2018.

Terrence Williams Facilitated His Co-Conspirators’ Submission of
Fraudulent Letters of Medical Necessity in Furtherance of the
Fraudulent Scheme

 

35. With respect to the DENTAL OFFICE-1 claims of RONALD
GLEN DAVIS and CHARLES WATSON JUR., the defendants, the
Administrative Manager requested that letters of medical necessity
be provided to justify the May 8, 2019 Claims for DENTAL OFFICE-1
services. On May 31, 2019, TERRENCE WILLIAMS, the defendant,
received an email entitled “Scanned Copies” from a UPS store in
Tukwila, Washington — near where WILLIAMS resides ~ which attached
responsive letters of medical necessity purporting to be from
DENTIST-1 dated May 31, 2019, for DAVIS and WATSON JR. (the “May
31, 2019 DENTIST-1 Letters”). The May 31, 2019 DENTIST-1 Letters
were submitted to the Administrative Manager to obtain
reimbursement for the May 8, 2019 Claims. The May 31, 2019 DENTAL-1
Letters are unusual in several respects: they are not on
letterhead, they contain unusual formatting, they have grammatical
errors, and they have the same font and font size as the May 31,
2019 CHIROPRACTOR-1 Letters referenced in paragraph 23, above.

False and Fraudulent Dental Office-1 and Dental Office-2 Claims
Were Submitted in Furtherance of the Fraudulent Scheme

 

 

26. Between on or about April 17, 2018 and May &, 2019, RUBEN

PATTERSON, JAMARIO MOON, ANTHONY WROTEN, GREGORY SMITH, RONALD

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GLEN DAVIS, and CHARLES WATSON JR., the defendants, submitted and
caused to be submitted false and fraudulent claims to the Plan
seeking reimbursement for services that PATTERSON, MOON, WROTEN,
SMITH, DAVIS, WATSON JR., and relatives of PATTERSON purportedly
received from DENTAL OFFICE-1 on particular dates. The claims
consisted of: (a) false and fraudulent reimbursement claim forms
in which PATTERSON, MOON, SMITH, DAVIS, and WATSON JR. each falsely
certified that he and/or his family members had received dental
services on specific service dates; and (b) false and fraudulent
DENTAL OFFICE-1 invoices for PATTERSON, MOON, WROTEN, SMITH,
DAVIS, WATSON JR., and relatives of PATTERSON.

37. Between on or about March 20, 2019 and March 21, 2019,
ANTHONY ALLEN, DESIREE ALLEN, DARIUS MILES, and SEBASTIAN TELFAIR,
the defendants, submitted and caused to be submitted false and
Fraudulent claims to the Plan seeking reimbursement for services
that ANTHONY ALLEN, MILES, TELFAIR, and relatives of MILES and
TELFAIR purportedly received from DENTAL OFFICE-2 on particular
dates. The claims consisted of: {a} false and fraudulent
reimbursement claim forms in which ANTHONY ALLEN, MILES, and
TELFAIR each falsely certified that he and/or his family members
had received dental services on specific service dates; and (b)
False and fraudulent DENTAL OFFICE-2 invoices for ANTHONY ALLEN,

MILES, TELFAIR, and relatives of MILES and TELFAIR.

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38. The Administrative Manager approved the DENTAL OFFICE-1
claims of RUBEN PATTERSON, JAMARIO MOON, ANTHONY WROTEN and GREGORY
SMITH, the defendants. The Plan paid: at least $172,830 to
PATTERSON; $50,475 to MOON; $94,981.64 to WROTEN; and $83,435 to
SMITH.

39. The Administrative Manager denied the DENTAL OFFICE-1
claims of RONALD GLEN DAVIS, the defendant, for $132,000, and
CHARLES WATSON JR., the defendant, for $121,800. Upon review and
investigation of these claims, the Board concluded that DAVIS and
WATSON JR. did not receive the DENTAL OFFICE-1 services set forth
in their claims.

40. The Administrative Manager approved the DENTAL OFFICE-2
“elaims of ANTHONY ALLEN, DARIUS MILES, and SEBASTIAN TELFAIR, the
defendants. The Plan paid $155,075 to ANTHONY ALLEN; $84,140 to
MILES; and $151,356 to TELFAIR. The Board later independently
reviewed the DENTAL OFFICE-2 claims of ANTHONY ALLEN and TROLPFAIR.
As part of this review, the Board tried to substantiate that
ANTHONY ALLEN and TELFAIR had received the dental services from
DENTAL OFFICE-2 that formed the basis of their claims and concluded
that ANTHONY ALLEN and TELFAIR had not received such services. The
Board concluded that the DENTAL OFFICE-2 claims of ANTHONY ALLEN
and TELFAIR should not have been approved and retroactively denied
their claims. The Board also advised that ANTHONY ALLEN and TELFAIR

should repay the money that they received in connection with these

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claims. As noted above, ANTHONY ALLEN repaid $350,075 of the
$420,075 he owed the Plan for his CHIROPRACTIC OFFICE-1 and DENTAL
OFFICE-2 claims. TELFAIR did not make any repayments to the Plan.

THE FALSE AND FRAUDULENT WELLNESS OFFICE-1i CLAIMS

Terrence Williams Provided Fraudulent Wellness Office-1
Invoices to Co-Conspirators in Furtherance of Their Scheme to
Defraud the Plan

 

 

41. Between on or about March 16, 2019 and January 30, 2020,
TERRENCE WILLIAMS, the defendant, emailed faise and fraudulent
WELLNESS OFFICE-1 invoices and related receipts to MILTON PALACTO
and MELVIN ELY, the defendants.

42. The WELLNESS OFFICE-1l invoices for MILTON PALACIO and
MELVIN ELY, the defendants, purported to show that they each
received wellness services at WELLNESS OFFICE-1 and affiliated
clinics in Washington State on particular dates when, in fact,
they did not, as neither PALACIO nor ELY were in Washington State
on those dates.

43. On or about September 3, 2019, TERRENCEK WILLIAMS, the
defendant, sent MELVIN ELY, the defendant, an email with a WELLNESS
OFFICE-1 invoice for MILTON PALACIO, the defendant, dated July 11,
2017, and stated “Example, but clearly your name on it.”

44. On or about October 9, 2019, after TERRENCE WILLIAMS,
the defendant, emailed certain WELLNESS OFFICE-1 invoices ‘to
MELVIN ELY, the defendant, ELY replied that “it didn’t come out

right.”

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45. On or about November 20, 2019, MILTON PALACIO, the
defendant, was advised by the Administrative Manager to submit an
itemized statement and an NBA substantiation authorization form,
On or about November 20, 2019, PALACIO uploaded WELLNESS OFFICE-1
invoices to the Administrative Manager’s consumer portal for
MELVIN ELY, the defendant, that were identical to PALACIO’s
WELLNESS OFFICE-1 invoices, except that the name “Melvin Ely”
replaced “Milt Palacio.” The WELLNESS OFFICE-1 invoices for
PALACIO and ELY contained the same invoice numbers, same service
dates, same treatments, and the same dollar amounts.

False and Fraudulent Wellness Office-1 Claims Were Submitted in
Furtherance of the Fraudulent Scheme

 

46. Between on or about September 11, 2019 and January 21,
2020, MILTON PALACIO and MELVIN ELY, the defendants, submitted and
caused to be submitted false and fraudulent claims to the Plan
seeking reimbursement for services that PALACIO and = &ELY
purportedly received from WELLNESS OFFICE-1 on particular dates.
The claims were submitted via the Administrative “Manager's
consumer portal and were supported by the fraudulent WELLNESS
OFFICE-1 invoices provided by WILLIAMS to PALACIO and ELY. WILLIAMS
received these WELLNESS OFFICE-1 invoices from DOCTOR-1.

47. The Administrative Manager denied the WELLNESS OFFICE-1
claims of MILTON PALACIO, the defendant, for $158,998, and MELVIN

ELY, the defendant, for $206,080.

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Milton Palacio and Melvin Fly Submitted Written Correspondence
to the Administrative Manager in Furtherance
of the Fraudulent Scheme

 

 

48, On or about September 16, 2019, an email from MELVIN
ELY’s spouse’s email account was sent to Administrative Manager
regarding the subject “Denied Claim (Attn: []%: “Good afternoon,
my name is Melvin Ely this is my written notification referencing
the denied claims listed below, these claims in addition to any
and all claims moving forward have not been, and will not be
processed through insurance unless indicated as such...”

49, MILTON PALACIO, the defendant, signed a letter dated
October 24, 2019, stating that he paid out of pocket for various
services associated with the fraudulent WELLNESS OFFICE~1
invoices.

50. On May 27, 2020, MILTON PALACIO, the defendant, emailed
an Administrative Manager employee regarding his lack of
reimbursement for the $74,998 claim: “Due to my insurance not
being accepted at this office I requested reimbursement for these
procedures through [Administrative Manager]. Also it is not
showing in my account, so I was just wondering is it on hold or
will it be credited back to my account if not reimbursed.”

51. MELVIN ELY, the defendant, signed a letter submitted to
the Administrative Manager stating that certain denied claims will
not be processed through insurance. The purpose of this letter was

for the Plan to then pay the claims.

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TERRENCE WILLIAMS RECEIVED AT LEAST APPROXIMATELY $230,000 IN
KICKBACKS IN CONNECTION WITH THE FRAUDULENT SCHEME

52. RUBEN PATTERSON, JAMARIO MOON, ANTHONY WROTEN, WILLTAM
BYNUM, DARIUS MILES, ALAN ANDERSON, SHANNON BROWN, CHARLES WATSON
JR., RONALD GLEN DAVIS, and MILTON PALACIO, the defendants, paid
kickbacks to TERRENCE WILLIAMS, the defendant, in connection with
their fraudulent CHIROPRACTIC-1 OFFICE, DENTAL OFFICE-1, DENTAL
OFFICE-2, and WELLNESS OFFICE-1 claims. Specifically:

a. On May 2, 2018 and May 3, 2018 - a few days after
the Plan paid PATTERSON for one of his DENTAL OFFICE-1i claims —
PATTERSON made $5,000 and $1,000 payments to WILLIAMS.

b. On May 31, 2018 — the day after PATTERSON signed a
DENTAL OFFICE-1 claim form for one of his relatives - PATTERSON
paid $5,000 to WILLIAMS.

Cc. On or about May 25, 2018 - one day after the Plan
paid MOON for one of his reimbursement claims for DENTAL OFFICEH-1
services — MOON paid $15,500 to WILLIAMS.

d. On or about April 4, 2019 - several days before
MOON submitted one of his reimbursement claims for DENTAL OFFICE-
1 services - MOON paid $200 to WILLIAMS.

e, On or about October 20, 2018 - a day after the Plan
made a payment to WROTEN, WROTEN paid $20,000 to WILLIAMS. On or

about November 2, 2018, the Plan made a second payment to WROTEN.

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Roughly. three weeks later, Wroten made two payments totaling $1800
to WILLIAMS.

f. On or about December 12, 2018 - six days after the
Plan paid BYNUM for his CHIROPRACTIC OFFICE-1 claim - BYNUM paid
$30,000 to WILLIAMS.

g. On or about March 27, 2019 - roughly five days after
MILES submitted the claim for CHIROPRACTIC OFFICE-1 and two days
before MILES submitted the claim for DENTAL OFFICE-2 services —
MILES paid $33,000 to WILLIAMS.

h. On or about April 5, 2019 — roughly one week before
MILES submitted a claim for CHIROPRACTIC OFFICE-1 services — MILES
paid $28,000 to WILLIAMS.

i. On or about April 22, 2019, the Plan paid $121,000
to ANDERSON for CHIROPRACTIC OFFICE-i services. Roughly a week
later, on April 29, 2019, ANDERSON paid $2,000 to WILLIAMS. On or
about May 1, 2019, ANDERSON paid $3,000 to WILLIAMS.

4. On or about April 26, 2019 - just a few days after
the Plan paid $273,819.82 to BROWN for CHIROPRACTIC OFFICE-1
services -— BROWN paid $20,000 to WILLIAMS.

k, On May 1, 2019 —- roughly a week before WATSON JR.
submitted a claim for CHIROPRACTIC OFFICE-1 and DENTAL OFFICE-1

services - WATSON JR. paid $7,500 to WILLIAMS.

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1. On or about May 8, 2019 - the day that WATSON JR.
signed the claim form for CHIROPRACTIC OFFICE-1 and DENTAL OFFICE—
1 services — WATSON JR. paid $500 to WILLIAMS.

m. On or about May 10, 2019 - two days after WATSON
JR. signed the claim form for CHIROPRACTIC OFFICE-1 and DENTAL
OFFICE-1 services - WATSON JR. paid $49,500 to WILLIAMS.

n. On or about June 25, 2019 - the date that DAVIS
emailed to the Administrative Manager DAVIS’s June 25, 2019 Letter
from DOCTOR-2 - DAVIS paid $1,000 to WILLIAMS.

oO. On or about May 29, 2019 - over two weeks before
PALACIO received fraudulent CHIROPRACTIC OFFICE-1 invoices from
WILLIAMS ~ PALACIO’s parents paid $7,500 to WILLIAMS. PALACIO
does not appear to have summitted these particular fraudulent
invoices to the Plan.

WILLIAMS UNLAWFULLY USED ADMINISTRATIVE MANAGER EMPLOYEE-1’S
IDENTITY IN FURTHERANCE OF THE SCHEME TO DEFRAUD THE PLAN

53. .'TERRENCER WILLIAMS, the defendant, agreed with his co-
conspirators that they would pay kickbacks to WILLIAMS in exchange
for WILLIAMS providing them with false and fraudulent invoices in
connection with the scheme to defraud the Plan. As described above,
at least ten co-conspirators paid kickbacks to WILLIAMS, totaling
at least approximately $230,000. However, others did not.

54. CHRISTOPHER DOUGLAS-ROBERTS, a/k/a “Supreme Bey,” the

defendant, did not pay a kickback to TERRENCE WILLIAMS, the

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defendant, despite having been paid by the Plan in connection with
his fraudulent and false ciaim. On or about February 27, 2019,
WILLIAMS used a personal email account — which WILLIAMS created
and controlled - that contained the first name of ADMINISTRATIVE
MANAGER EMPLOYEE-1, followed by the name of one of the Plan’s
Administrative Managers and then the word “benefits” to email
DOUGLAS-ROBERTS regarding his claim. in that email, WILLIAMS
falsely claimed to be ADMINISTRATIVE MANAGER EMPLOYEE-1 and
falsely raised a potential issue with DOUGLAS-ROBERTS’ s
reimbursement in an effort to frighten DOUGLAS-ROBERTS into re-
engaging with WILLIAMS. WILLIAMS — posing as ADMINISTRATIVE
MANAGER EMPLOYEE-1 -— stated that DOUGLAS-ROBERTS’s claim “has the
same processed invoice numbers as another claim for a different
player,” which would result in voiding the claim and DOUGLAS—
ROBERTS needing to pay back the Plan. WILLIAMS signed the email
using ADMINISTRATIVE MANAGER EMPLOYEE~1’s name, employer, business
address, main business phone number, and business fax number, but
changed ADMINISTRATIVE MANAGER EMPLOYEE-1’s direct business phone
number to a phone number with an area code for New York City.

STATUTORY ALLEGATIONS

 

55. From at least in or about 2017, up to and including at
least in or about 2020, in the Southern District of New York and
elsewhere, TERRENCE WILLIAMS, ALAN ANDERSON, ANTHONY ALLEN,

DESIREE ALLEN, SHANNON BROWN, WILLIAM BYNUM, RONALD GLEN DAVIS,

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CHRISTOPHER DOUGLAS-ROBERTS, a/k/a “Supreme Bey,” MELVIN ELY,
JAMARIO MOON, DARIUS MILES, MILTON PALACIO, RUBEN PATTERSON, EDDIE
ROBINSON, GREGORY SMITH, SEBASTIAN TELFAIR, CHARLES WATSON JR.,
ANTOINE WRIGHT, and ANTHONY WROTEN, the defendants, and others
known and unknown, willfully and knowingly, did combine, conspire,
confederate, and agree together and with each other to commit: (a)
health care fraud, in violation of Title 18, United States Code,
Section 1347; and (b) wire fraud, in violation of Title 18, United
States Code, Section 1343.

56. It was a part and object of the conspiracy that TERRENCE
WILLIAMS, ALAN ANDERSON, ANTHONY ALLEN, DESIREE ALLEN, SHANNON
BROWN, WILLIAM BYNUM, RONALD GLEN DAVIS, CHRISTOPHER DOUGLAS-
ROBERTS, a/k/a “Supreme Bey,” MELVIN ELY, JAMARTO MOON, DARIUS
MILES, MILTON PALACIO, RUBEN PATTERSON, EDDIE ROBINSON, GREGORY
SMITH, SEBASTIAN TELFAIR, CHARLES WATSON JR., ANTOINE WRIGHT, and
ANTHONY WROTEN, the defendants, and others known and unknown,
willfully and knowingly, would and did execute and attempt to
execute, a scheme or artifice to defraud a health care benefit
program and to obtain by means of false or fraudulent pretenses,
representations, and promises, money or property under the custody
or control of a health care benefit program in connection with the
delivery of and payment for health care benefits, items and
services, in violation of Title 18, United States Code, Section

1347.

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57. It was further a part and object of the conspiracy that
TERRENCE WILLIAMS, ALAN ANDERSON, ANTHONY ALLEN, DESIREE ALLEN,
SHANNON BROWN, WILLIAM BYNUM, RONALD GLEN DAVIS, CHRISTOPHER
DOUGLAS-ROBERTS, a/k/a “Supreme Bey,” MELVIN ELY, JAMARIO MOON,
DARIUS MILES, MILTON PALACIO, RUBEN PATTERSON, EDDIE ROBINSON,
GREGORY SMITH, SEBASTIAN TELFAIR, CHARLES WATSON JR., ANTOINE
WRIGHT, and ANTHONY WROTEN, the defendants, and others known and
unknown, willfully and knowingly, having devised and intending to
devise a scheme and artifice to defraud, and for obtaining money
and property by means of false and fraudulent pretenses,
representations, and promises, would ana did transmit and cause to
be transmitted by means of wire, radio, and television
communication in interstate and foreign commerce, writings, signs,
signals, pictures, and sounds for the purpose of executing such
scheme and artifice, in violation of Title 18, United States Code,
Section 1343.

(Title 18, United States Code, Section 1349.)

COUNT TWO
(Aggravated Identity Theft)

The Grand Jury further charges:
58. fhe allegations contained in paragraphs 1 through 54 of
this Indictment are repeated and realleged as if fully set forth

herein.

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59, On or about February 27, 2019, in the Southern District
of New York and elsewhere, TERRENCE WILLIAMS, the defendant,
knowingly transferred, possessed, and used, without lawful
authority, a means of identification of another person, during and
in relation to a felony violation enumerated in Title 18, United
States Code, Section 1028A(c), to wit, WILLIAMS used the name,
employer, business address, main business phone number, and
business fax number of another person, namely, Administrative
Manager Employee~1, during and in relation to the offense charged
in Count One of this Indictment.

(Title 18, United States Code, Sections 1028A(a) (1),
1028A(b), and 2.)

FORFEITURE ALLEGATION

 

60. As a result of committing the offense alleged in Count
One of this Indictment, TERRENCE WILLIAMS, ALAN ANDERSON, ANTHONY
ALLEN, DESIREE ALLEN, SHANNON BROWN, WILLIAM BYNUM, RONALD GLEN
DAVIS, CHRISTOPHER DOUGLAS-ROBERTS, a/k/a “Supreme Bey,” MELVIN
ELY, JAMARIO MOON, DARIUS MILES, MILTON PALACIO, RUBEN PATTERSON,
EDDIE ROBINSON, GREGORY SMITH, SEBASTIAN TELFAIR, CHARLES WATSON
JR., ANTOINE WRIGHT, and ANTHONY WROTEN, the defendants, shall
forfeit to the United States, pursuant to Title 18, United States
Code, Sections 981(a) (i) (C) and 982(a)(7), and Title 28, United
States Code, Section 2461(c), any and ali property, real or

personal, that constitutes or is derived, directly or indirectly,

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from gross proceeds traceable to the commission of said offense,
including but not limited to a sum of money in United States
currency representing the amount of proceeds traceable to the
commission of said offense.

Substitute Assets Provision

61. If any of the above-described forfeitable property, as

a result of any act or omission of the defendants:

a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited with,

a third person;

c. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21, United
States Code, Section 853(p), and Title 28, United States Code,
Section 246l(c), to seek forfeiture of any other property of the
defendants up to the value of the above forfeitable property.
(Title 18, United States Code, Sections 981 and 982;

Pitie 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

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FORE PERSON

 

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Form No. USA-33s-274 (Ed. 9-25-58)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
Vv.

TERRENCE WILLIAMS,
ALAN ANDERSON,
ANTHONY ALLEN,
DESIREE ALLEN,
SHANNON BROWN,
WILLIAM BYNUM,

RONALD GLEN DAVIS,

CHRISTOPHER DOUGLAS-ROBERTS ,
a/k/a “Supreme Bey,”
MELVIN ELY,

JAMARIO MOON,

DARIUS MILES,

MILTON PALACIO,

RUBEN PATTERSON,
EDDIE ROBINSON,
GREGORY SMITH,

SEBASTIAN TELFAIR,

CHARLES WATSON JR.,
ANTOINE WRIGHT, and
ANTHONY WROTEN,

Defendants.

 

SEALED INDICTMENT

21 Cr.
(18 U.S.C. §8§ 1349, 1028A, and 2.)}

AUDREY STRAUSS
United States Attorney

Foreperson

 

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